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                         UNITED STATES DISTRICT COURT
                        CENTRAL DISTRICT OF CALIFORNIA

                          CRIMINAL MINUTES—GENERAL

 Case No. CV-12-4568-MWF-(Ex)                   Date: January 16, 2014
 Title:   Michael F. Consedine -v- HRN Services, et al.
 Present: The Honorable MICHAEL W. FITZGERALD, U.S. District Judge

           Deputy Clerk:                              Court Reporter:
           Rita Sanchez                               Not Reported

           Attorneys Present for Plaintiff:           Attorneys Present for Defendant:
           None Present                               None Present

 Proceedings (In Chambers): ORDER RE MOTIONS IN LIMINE [44], [45]

       This matter is before the Court on Plaintiff Michael F. Consedine, as Statutory
 Liquidator of Legion Insurance Company (“Legion”) and Villanova Insurance
 Company (the “Liquidator”)’s Motions in Limine Nos. 1 and 2 (collectively the
 “Motions”). (Docket Nos. 44, 45).

 Plaintiff’s Motion in Limine No. 1 to Exclude Speculative Testimony and Limit
 Opinions of Defense Expert Phil Neal Walker

      The Liquidator requests that the Court limit the testimony of defense expert Phil
 Walker. The Motion is GRANTED IN PART and DENIED IN PART.

        Mr. Walker is a California workers’ compensation insurance specialist with over
 30 years’ experience. (Opp. at 2). Defendant HRN Services, Inc. (“HRN”) intends to
 present Mr. Walker’s testimony “about the invalidity of Legion’s claim for
 reimbursement, claims handling requirements of insurance companies and this impact
 of the claims handling upon HRN when the Liquidator took over, HRN’s obligation, if
 any, to make payments, and the inability to ascertain the basis for Plaintiff’s claims for
 payment.” (Id.).

        The Liquidator does not dispute that Mr. Walker is qualified to testify as an
 expert on workers’ compensation issues. Accordingly, Mr. Walker will be permitted to
 testify. The Liquidator only seeks an order (a) preventing Mr. Walker from opining on
 the law; (b) excluding speculative testimony regarding the amount of loss from alleged
 negligent claims handling; (c) excluding testimony on any pre-liquidation breach of
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                          CRIMINAL MINUTES—GENERAL                                       1
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                         UNITED STATES DISTRICT COURT
                        CENTRAL DISTRICT OF CALIFORNIA

                          CRIMINAL MINUTES—GENERAL

 Case No. CV-12-4568-MWF-(Ex)                   Date: January 16, 2014
 Title:   Michael F. Consedine -v- HRN Services, et al.
 claims handling duties; and (d) excluding testimony on the Liquidator’s release of its
 claims against HRN.

        Legal opinions. As a general rule, “testimony in the form of an opinion or
 inference otherwise admissible is not objectionable because it embraces an ultimate
 issue to be decided by the trier of fact.” Fed. R. Evid. 704(a). “That said, an expert
 witness cannot give an opinion as to her legal conclusion, i.e., an opinion on an
 ultimate issue of law. Similarly, instructing the jury as to the applicable law is the
 distinct and exclusive province of the court.” Hangarter v. Provident Life & Accident
 Ins. Co., 373 F.3d 998, 1016 (9th Cir. 2004) (citations and internal quotation marks
 omitted); see also Fed. R. Evid. 702 (requiring that expert opinion evidence “assist the
 trier of fact to understand the evidence or to determine a fact in issue”).

       Pursuant to well-established Ninth Circuit precedent, Mr. Walker will be
 permitted to testify to matters touching the ultimate issues of the case. He will not,
 however, be permitted to frame his answers in the form of legal conclusions. The
 Liquidator must be prepared to make any necessary objections at trial.

       Amount of loss from negligent claims handling. As HRN points out in its
 Opposition, the precise monetary amount of loss claimed as a result of negligent claims
 handling is not at issue. HRN’s claim is only that the Liquidator’s deficient claims
 handling relieves HRN of its obligation to reimburse deductibles. Because the Court
 granted summary judgment on HRN’s negligent claims handling defense (Docket No.
 61), Mr. Walker will not be permitted to testify as to why the Liquidator’s claims
 handling was deficient.

        Pre-liquidation negligent claims handling. HRN admits that its defense based
 on claims handling arose after the Liquidator took control of Legion. (Opp. at 9).
 Accordingly, pre-liquidation negligent claims handling is irrelevant. Mr. Walker will
 not be permitted to discuss any purported negligent claims handling occurring before
 liquidation.

      Release. The parties agree that Mr. Walker will not be permitted to testify as to
 whether Legion’s claims are the subject of a release.
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                        UNITED STATES DISTRICT COURT
                       CENTRAL DISTRICT OF CALIFORNIA

                         CRIMINAL MINUTES—GENERAL

 Case No. CV-12-4568-MWF-(Ex)                   Date: January 16, 2014
 Title:   Michael F. Consedine -v- HRN Services, et al.
 Plaintiff’s Motion in Limine No. 2 to Exclude References to the Cause of the
 Legion Liquidation

        The Liquidator requests an order excluding evidence describing the cause of the
 Legion liquidation as being related to mismanagement. (Mot. at 3). HRN does not
 oppose the Motion, but wishes to reserve the right to comment on any exhibits relating
 to the liquidation that may be admitted into evidence.

        The Motion is GRANTED. Evidence, testimony, argument, or reference to the
 cause of Legion’s liquidation being the result of mismanagement will be excluded, but
 this Order will not limit HRN’s ability to comment on or introduce any otherwise
 admissible evidence relating to the Liquidator’s exhibits. If the Liquidator believes
 that such argument or evidence should be excluded under either Rules 401 or 403 of
 the Federal Rule of Evidence, it should make the relevant objections at trial.

       IT IS SO ORDERED.




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